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Type hearing:
Case number:
Defendant:

Court Reporter:
Interpreter:

US Attorney:
Defense Attorney:
Time in Court:
Judge:

Date of hearing:

Status:

Days in Coutt:
Hearing concluded:

Deputy Clerk:

Other Information: Ose OMe O
LOotal counse |

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

MINUTE ORDER
Arraignment - NON-EVIDENTIARY
4:14-CR-151-Y
JOSE RODOLFO VILLARREAL HERNANDEZ (06), Sworn

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Magistrate Judge Jeffrey L. Cureton
March 3, 2025

JOSE RODOLFO VILLARREAL HERNANDEZ (06) enters a plea of not guilty as to
counts one and two charged in the four-count fourth superseding indictment.

Pre-Trial Conference is set for April 17, 2025, at 3:00 p.m.

Jury Trial is set for April 21, 2025, at 1:30 p.m.

Defendant waived reading of the indictment.

Deft’s detention continued.

one
Yes

Julie Harwell

Cetoayned as
